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 9                          UNITED STATES DISTRICT COURT
10                        NORTHERN DISTRICT OF CALIFORNIA
11                              SAN FRANCISCO DIVISION
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13   IN RE: CATHODE RAY TUBE (CRT)           Master File No. CV- 07-5944-SC
     ANTITRUST LITIGATION
14   ____________________________________    MDL No. 1917
     This Document Relates to:
15                                           [PROPOSED] ORDER GRANTING FINAL
                                             APPROVAL OF CLASS ACTION
16   ALL DIRECT PURCHASER ACTIONS            SETTLEMENT WITH LG
17                                           Date: March 15, 2013
                                             Time: 10:00 a.m.
18                                           Judge: Honorable Charles A. Legge (Ret.)
                                             JAMS: Two Embarcadero Center, Suite 1500
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     [PROPOSED] ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT WITH LG
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 1           On February 22, 2013, Direct Purchaser Plaintiffs filed a Motion for Final Approval of

 2   Class Action Settlement with Defendants LG Electronics, Inc.; LG Electronics USA, Inc.; and LG

 3   Electronics Taiwan Taipei Co., Ltd. (collectively, “LG”). The Court, having reviewed the motion,

 4   the settlement agreement, the pleadings and other papers on file in this action, and the statements of

 5   counsel and the parties, hereby finds that the motion should be GRANTED.

 6           NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

 7           1.      The Court has jurisdiction over the subject matter of this litigation, and all actions

 8   within this litigation and over the parties to the Settlement Agreement, including all members of

 9   the Class and the Defendants.

10           2.      For purposes of this Order, except as otherwise set forth herein, the Court adopts

11   and incorporates the definitions contained in the settlement agreement.

12           3.      Pursuant to Fed. R. Civ. P. 23(g), Lead Counsel, previously appointed by the Court

13   (Saveri & Saveri Inc.), are appointed as counsel for the Class. Saveri & Saveri, Inc. has and will

14   fairly and competently represent the interests of the Class.

15           4.      Pursuant to Federal Rule of Civil Procedure 23, the Court determines that the

16   following settlement class be certified:

17                   All persons and entities who, between March 1, 1995 and November 25,
                     2007, directly purchased a CRT Product in the United States from any
18                   defendant or subsidiary or affiliate thereof, or any co-conspirator.
                     Excluded from the Class are defendants, their parent companies,
19                   subsidiaries and affiliates, any co-conspirator, all governmental entities,
                     and any judges or justices assigned to hear any aspect of this action.
20           5.      CRT Products refers to all forms of Cathode Ray Tubes. It includes CPTs,
21   CDTs and the finished products that contain them – televisions and monitors.
22           6.      The Court further finds that the prerequisites to a class action under Rule
23   23 are satisfied for settlement purposes in that: (a) there are hundreds of geographically
24   dispersed class members, making joinder of all members impracticable; (b) there are
25   questions of law and fact common to the class which predominate over individual issues;
26   (c) the claims or defenses of the class plaintiffs are typical of the claims or defenses of
27   the class; (d) the plaintiffs will fairly and adequately protect the interests of the class, and
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 1   have retained counsel experienced in antitrust class action litigation who have, and will

 2   continue to, adequately represent the class; and (e) a class action is superior to individual

 3   actions.

 4          7.       The Court hereby finally approves and confirms the settlement set forth in the

 5   Agreement and finds that said settlement is, in all respects, fair, reasonable and adequate to the

 6   Class pursuant to Rule 23 of the Federal Rules of Civil Procedure.

 7          8.      This Court hereby dismisses on the merits and with prejudice the Action in

 8   favor of LG, with each party to bear their own costs and attorneys’ fees.

 9          9.      The LG Releasees are hereby and forever released and discharged with respect to

10   any and all claims or causes of action which the Releasors had or have arising out of or related to

11   any of the Released Claims as defined in the Agreement.

12          11.     The notice given to the Class of the settlement was the best notice practicable under

13   the circumstances, including individual notice to all members of the Class who could be identified

14   through reasonable efforts. Said notice provided due and adequate notice of those proceedings and

15   of the matters set forth therein, including the proposed settlement set forth in the Settlement

16   Agreement, to all persons entitled to such notice, and said notice fully satisfied the requirements of

17   Rules 23(c)(2) and 23(e)(1) of the Federal Rules of Civil Procedure and the requirements of due

18   process.

19          12.     Without affecting the finality of the Judgments in any way, this Court hereby retains

20   continuing jurisdiction over: (a) implementation of this settlement and any distribution to Class

21   Members pursuant to further orders of this Court; (b) disposition of the Settlement Fund; (c)

22   hearing and determining applications by plaintiffs for attorneys’ fees, costs, expenses, and interest;

23   (d) the Action until the Final Judgment contemplated hereby has become effective and each and

24   every act agreed to be performed by the parties all have been performed pursuant to the

25   Agreement; (e) hearing and ruling on any matters relating to the plan of allocation of settlement

26   proceeds; and (f) all parties to the Action and Releasors for the purpose of enforcing and

27   administering the Agreement and the mutual releases and other documents contemplated by, or

28   executed in connection with the Agreement.

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 1          13.     In the event that the settlement does not become effective in accordance with the

 2   terms of the Settlement Agreement, then the Judgments shall be rendered null and void and shall be

 3   vacated, and in such event, all orders entered and releases delivered in connection herewith shall be

 4   null and void and the parties shall be returned to their respective positions ex ante.

 5          14.     The Court finds, pursuant to Rules 54(a) and (b) of the Federal Rules of Civil

 6   Procedure, that Final Judgment should be entered and further finds that there is no just reason for

 7   delay in the entry Judgment, as a Final Judgment, as to the parties to the Settlement Agreement.

 8   Accordingly, the Clerk is hereby directed to enter Judgment forthwith for LG.

 9          IT IS RECOMMENDED.

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12   Dated:___________________                             ______________________________
                                                           Hon. Charles A. Legge (Ret.)
13                                                         Special Master
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            REVIEWED AND [APPROVED OR MODIFIED]
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17   Dated: _____________________                          ________________________________
                                                           Hon. Samuel Conti
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                                                           United States District Judge
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     [PROPOSED] ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT WITH LG                           3
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